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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

LEAH MITELBERG, individually and on )
behalf of all others similarly situated,    )       Civil Action No. 2:21-CV-01043
                                            )
                                 Plaintiff, )       Hon. Susan D. Wigenton
                                            )
          v.                                )       NOTICE OF MOTION
                                            )       (Oral Argument Requested)
THE TRUSTEES OF THE STEVENS                 )
INSTITUTE OF TECHNOLOGY,                    )       MOTION DATE: May 3, 2021
                                            )
                                 Defendant.


To:   Philip L. Fraietta
      Joseph I. Marchese
      Busor & Fisher, P.A.
      888 Seventh Avenue
      New York, NY 10019

      Sarah N. Westcot
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      2665 S. Bayshore Drive, Suite 200
      Miami, FL 33133

      PLEASE TAKE NOTICE that defendant The Trustees of the Stevens

Institute of Technology (“Stevens”), will move this Court, before the Honorable

Susan D. Wigenton, U.S.D.J., at the United States District Court for the District of

New Jersey, Martin Luther King Building & U.S. Courthouse, 50 Walnut Street,

Newark, NJ 07102, on May 3, 2021, at 9:00 a.m., or as soon thereafter as counsel
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may be heard, for an Order granting Stevens’ Motion to Dismiss Plaintiff’s

Complaint pursuant to Federal Rules of Civil Procedure 12(b)(6).

      PLEASE TAKE FURTHER NOTICE that in support of the motion,

Stevens shall rely on the enclosed Memorandum of Law, the Declaration of Angelo

A. Stio, III and the exhibits thereto. A proposed form of Order also is submitted

for the Court’s convenience.

      PLEASE TAKE FURTHER NOTICE that oral argument is requested.


                                     /s/ Angelo A. Stio III
                                     Angelo A. Stio III
                                     Michael E. Baughman
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                                     301 Carnegie Center
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                                     Attorneys for Defendant The Trustees of The
                                     Stevens Institute of Technology
Dated: March 29, 2021




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